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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :    CASE NO. 22 MJ 92 (RMM)
                                                 :
                                                 :
 STACY LEE BOND                                  :    VIOLATIONS:
 PAULA ANN CONLON,                               :    18 U.S.C. § 1752(a)(1)
                                                 :    (Entering and Remaining in a Restricted
                         Defendants.             :    Building or Grounds)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building
                                                 :    or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

On or about January 6, 2021, in the District of Columbia, STACY LEE BOND and PAULA

ANN CONLON, did knowingly enter and remain in a restricted building and grounds, that is,

any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was and would be temporarily visiting, without lawful

authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, STACY LEE BOND and

PAULA ANN CONLON, did knowingly, and with intent to impede and disrupt the orderly

conduct of Government business and official functions, engage in disorderly and disruptive

conduct in and within such proximity to, a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was and would be temporarily visiting, when and so that such conduct did in

fact impede and disrupt the orderly conduct of Government business and official functions

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, STACY LEE BOND and

PAULA ANN CONLON, willfully and knowingly engaged in disorderly and disruptive conduct

within the United States Capitol Grounds and in any of the Capitol Buildings with the intent to

impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of

Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))




                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, STACY LEE BOND and

PAULA ANN CONLON, willfully and knowingly paraded, demonstrated, and picketed in any

United States Capitol Building.

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(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           D.C. Bar No. 481052


                                    By:    /s/ Mona Lee M. Furst
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